Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6697 Filed 05/01/23 Page 1 of 21




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


  AFT MICHIGAN,                                       Civil Case No. 4:17-cv-13292
           Plaintiff,
                                                      Honorable Linda V. Parker
  v.
                                                      Honorable Elizabeth A. Stafford
  PROJECT VERITAS, and
  MARISA L. JORGE,
           Defendants.

 EMERGENCY MOTION TO CERTIFY FOR INTERLOCUTORY APPEAL
                [209] OPINION AND ORDER REGARDING
  [157, 158] OBJECTIONS TO [152] MAGISTRATE JUDGE’S ORDER ON
                [134] PLAINTIFF’S MOTION TO COMPEL

          Under 28 U. S. C. § 1292(b), Project Veritas asks the Court to certify its order
 compelling the disclosure of nonparty donor identities for the reasons argued in its
 brief.
          Project Veritas conferred with AFT Michigan on April 27, 2023, as required
 under Civil Rule 7.1(a)(1) (ED Mich. 2022). AFT Michigan does not concur in the
 relief sought.
                                               Respectfully submitted
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Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6698 Filed 05/01/23 Page 2 of 21




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 Dated: May 1, 2023




                                     –2–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6699 Filed 05/01/23 Page 3 of 21




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


  AFT MICHIGAN,                              Civil Case No. 4:17-cv-13292
       Plaintiff,
                                             Honorable Linda V. Parker
  v.
                                             Honorable Elizabeth A. Stafford
  PROJECT VERITAS, and
  MARISA L. JORGE,
       Defendants.

                         BRIEF IN SUPPORT OF
 EMERGENCY MOTION TO CERTIFY FOR INTERLOCUTORY APPEAL
                [209] OPINION AND ORDER REGARDING
  [157, 158] OBJECTIONS TO [152] MAGISTRATE JUDGE’S ORDER ON
                [134] PLAINTIFF’S MOTION TO COMPEL
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6700 Filed 05/01/23 Page 4 of 21




                                          TABLE OF CONTENTS

 INDEX OF AUTHORITIES..................................................................................... ii
 QUESTION PRESENTED...................................................................................... iv
 CONTROLLING AUTHORITY ...............................................................................v

 RULE OF DECISION ...............................................................................................1

 ARGUMENT .............................................................................................................1

                   A controlling question of law is at the heart of the Court’s ruling........2
                   A substantial ground for difference of opinion exists ...........................3
                   An appeal would materially advance the termination of this
                   litigation...............................................................................................10

 CONCLUSION........................................................................................................12




                                                           –i–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6701 Filed 05/01/23 Page 5 of 21




                                      INDEX OF AUTHORITIES
 Cases
 Americans for Prosperity Foundation v. Bonta,
  141 S. Ct. 2373 (2021)........................................................................................1, 5
 Anderson v. Hale,
   2001 WL 503045 (N.D. Ill. May 10, 2001) ...........................................................6
 Bartnicki v. Vopper,
   532 U. S. 514 (2001)...............................................................................................2
 Blair v. Checker Cab Co.,
   219 Mich. App. 667 (1996) ....................................................................................9
 City of Dearborn v. Comcast of Michigan, III, Inc.,
   2008 WL 5084203 (E.D. Mich. Nov. 24, 2008)...............................................3, 10
 Delphi Automotive, PLC v. Absmeier,
  167 F. Supp. 3d 868 (ED Mich 2016) ....................................................................8
 Eagan v. CSX Transp., Inc.,
   294 F. Supp. 2d 911 (E.D. Mich. 2003) .................................................................3
 Eberline v. Douglas J. Holdings, Inc.,
   2019 WL 989284 (E.D. Mich. Mar. 1, 2019).........................................................1
 Huff v. Spaw,
  794 F. 3d 543 (6th Cir. 2015)..................................................................................7
 In re Baker & Getty Fin. Servs., Inc.,
   954 F. 2d 1169 (6th Cir. 1992) ................................................................................2
 In re City of Memphis,
   293 F. 3d 345 (6th Cir. 2002)................................................................................10
 In re Trump,
   874 F. 3d 948 (6th Cir. 2017)......................................................................... 1, 2, 3
 Madsen v. Women’s Health Ctr., Inc.,
  512 U. S. 753 (1994)...........................................................................................3, 4
 NAACP v. Alabama,
  357 U. S. 449 (1958)...........................................................................................1, 2


                                                        – ii –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6702 Filed 05/01/23 Page 6 of 21




 Newsome v. Young Supply Co.,
   873 F. Supp. 2d 872 (E.D. Mich. 2012) ...............................................................11
 Planned Parenthood Fed’n of Am., Inc. v. Center for Med. Progress,
   2018 WL 2441518 (N.D. Calif. May 31, 2018).....................................................4
 Tree of Life Christians Schools v. City of Upper Arlington,
   2012 WL 831918 (S.D. Ohio Mar. 12, 2012) ........................................................6
 United States v. Morton Salt Co.,
  338 U. S. 632 (1950)...............................................................................................7
 Wysong Corp. v. M.I. Indus.,
  412 F. Supp. 2d 612 (ED Mich. 2005) ...................................................................8
 Young Conservatives of Texas Foundation v. University of North Texas,
   2022 WL 2901007 (E.D. Tex. Jan. 11, 2022).....................................................4, 5
 Zakora v. Chrisman,
   44 F. 4th 452 (6th Cir. 2022)...................................................................................9

 Statutes
 18 U. S. C. § 2150........................................................................................................7
 18 U. S. C. § 2510(6) ...................................................................................................7
 18 U. S. C. § 2511(d) ...................................................................................................7
 18 U. S. C. § 2520(a) ...................................................................................................7
 18 U. S. C. § 2520(e) ...................................................................................................9
 28 U. S. C. § 1292(b) ...................................................................................................1
 Mich. Comp. Laws § 600.5805(2)..............................................................................9

 Rules
 Civil Rule 7.1(d)(1)(A) (ED Mich. 2022)..................................................................1
 Fed. Rule App. Proc. 5(a)(3)......................................................................................1




                                                          – iii –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6703 Filed 05/01/23 Page 7 of 21




                             QUESTION PRESENTED
       Should the Court certify for interlocutory appeal its order compelling the
 disclosure of the identities of certain nonparty donors of Project Veritas?




                                         – iv –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6704 Filed 05/01/23 Page 8 of 21




                         CONTROLLING AUTHORITY

 28 U. S. C. § 1292(b)
 Fed. Rule App. Proc. 5(a)(3)

 NAACP v. Alabama, 357 U. S. 449 (1958)

 Americans for Prosperity Foundation v. Bonta, 141 S. Ct. 2373 (2021)

 In re Trump, 874 F. 3d 948 (6th Cir. 2017)




                                        –v–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6705 Filed 05/01/23 Page 9 of 21




       Defendant Project Veritas submits this brief in support of its motion to certify
 for interlocutory appeal the Court’s order compelling the disclosure of nonparty
 donor identities. Civil Rule 7.1(d)(1)(A) (ED Mich. 2022).

                               RULE OF DECISION
       As a condition precedent to petitioning the Court of Appeals for review of an
 interlocutory order, the district court must certify that the subject order involves a

 controlling question of law as to which there is substantial ground for difference of
 opinion, and an immediate appeal from the order may materially advance the
 ultimate termination of the litigation. 28 U. S. C. § 1292(b). When the district court

 is of the opinion that these factors have been met, the district court shall permit a
 party to appeal a non-final order. Eberline v. Douglas J. Holdings, Inc., 2019 WL
 989284 (E.D. Mich. Mar. 1, 2019); citing In re Trump, 874 F. 3d 948, 950-51 (6th

 Cir. 2017). This can be done by amending the challenged order to include the
 certification or issuing a separate order. Fed. Rule App. P. 5(a)(3).

                                    ARGUMENT
       The Court should certify for interlocutory appeal the question of whether

 compelling the disclosure of nonparty donor identities violates the protected First
 Amendment right of anonymous association recognized by the United States
 Supreme Court over half a century ago in NAACP v. Alabama, 357 U. S. 449 (1958),

 particularly when reviewed under the exacting scrutiny standard adopted more
 recently in Americans for Prosperity Foundation v. Bonta, 141 S. Ct. 2373 (2021)
 (“AFP”).



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Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6706 Filed 05/01/23 Page 10 of 21




       Project Veritas requests that the Court issue an amended order (amending ECF
 No. 209) to include the necessary certification per Fed. Rule App. Proc. 5(a)(3).
              A controlling question of law is at the heart of the Court’s ruling.
       Interpretation of the First Amendment is, of course, a question of law.

 Bartnicki v. Vopper, 532 U. S. 514 (2001). So too is a claim of privilege under the
 First Amendment. NAACP, supra. Accordingly, the appeal would present a question
 of law.

       “All that must be shown in order for a question to be ‘controlling’ is that
 resolution could materially affect the outcome of the case.” In re Baker & Getty Fin.
 Servs., Inc., 954 F. 2d 1169, 1173 n.8 (6th Cir. 1992); see also In re Trump, 874 F. 3d,

 at 951. In support of its ruling, the Court accepted that the donors could provide
 evidence “highly relevant” to AFT Michigan’s substantive claims and may be
 “potential co-conspirators.”     ECF 209, PageID.6388.         The Court previously

 acknowledged that a question of law is “controlling” for purposes of § 1292(b) when
 it “directly affects Project Veritas’ potential liability with regard to . . . [AFT
 Michigan]’s remaining claims.” ECF 104, PageID.2550.

       This element is met. Just as with the other issue this Court previously certified
 for interlocutory appeal, the question of the donor disclosure would materially affect
 the outcome of the case. AFT Michigan proposes to re-open discovery after it has

 been closed for two years, suggests that it may try to add new parties, seeks to expand
 upon the claims it supported at this late juncture, and is essentially attempting to
 begin a brand new case and window of discovery in a case that was filed in 2017.

 All while infringing upon Project Veritas’s and its donor’s First Amendment rights.


                                          –2–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6707 Filed 05/01/23 Page 11 of 21




 This issue is a controlling issue of law.
               A substantial ground for difference of opinion exists.
        There is a substantial ground for disagreement on the correctness of the
 Court’s ruling. “A substantial ground for difference of opinion exists when

 reasonable jurists might disagree on an issue’s resolution, not merely where they have
 already disagreed.” In re Trump, 874 F. 3d, at 952 (internal quotation and citation
 omitted). Other factors to consider as to whether a substantial ground for difference

 of opinion exists are when: 1) the question is difficult, novel, and either a question
 on which there is little precedent or one whose correct resolution is not substantially
 guided by previous decisions; 2) the question is difficult and of first impression; 3)

 a difference of opinion exists within the controlling circuit; or 4) the circuits are split
 on the question. City of Dearborn v. Comcast of Michigan, III, Inc., 2008 WL
 5084203 at *3 (E.D. Mich. Nov. 24, 2008); citing Eagan v. CSX Transp., Inc., 294

 F. Supp. 2d 911, 916 (E.D. Mich. 2003).
        Project Veritas respectfully submits that reasonable jurists could disagree with
 the Court’s balancing of protected First Amendment interests on several grounds.

        First, reasonable jurists could disagree as to whether, after AFP, all compelled
 disclosure requirements presumptively burden the First Amendment right of
 association, obviating the need for prima facie proofs required by the Magistrate

 Judge. Although the Court assumed this to be the case, and noted it would constitute
 a “significant distinction” from the Perry test applied by the Magistrate Judge, ECF
 209, PageID.6386, it openly questioned whether this was the correct reading of AFP

 in light of Madsen v. Women’s Health Ctr., Inc., 512 U. S. 753 (1994), where the


                                             –3–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6708 Filed 05/01/23 Page 12 of 21




 Supreme Court ruled that “[t]he freedom of association protected by the First
 Amendment does not extend to joining with others for the purpose of depriving third
 parties of their lawful rights.” Id., at 776. The procedural posture in Madsen was,
 however, much different than ours: that case was before the Supreme Court on an
 injunction entered after an evidentiary hearing. Id., at 770. There, the trial court had
 made factual findings that picketers were infringing on the rights of others. Id., at
 757–759, 770. Here, in contrast, there have been no evidentiary hearings and no
 factual findings made. It would be improper to assume that nonparty donors joined
 with Project Veritas to deprive AFT Michigan of its lawful rights when it has not
 been established by any evidence that anyone has deprived AFT Michigan of its
 lawful rights, a point made in the principal case upon which the Court relied,
 Planned Parenthood Fed’n of Am., Inc. v. Center for Med. Progress, 2018 WL
 2441518, at *10 (N.D. Calif. May 31, 2018) (“such an argument is ‘premature’ as it
 ‘assumes the merits of Plaintiffs’ claims against defendants’”).
       Second, assuming arguendo that the proponent of a First Amendment
 associational privilege must still make out a prima facie case of infringement after
 AFP, reasonable jurists disagree on the quantum of evidence required to make that

 showing. The Magistrate Judge found the evidence offered by Project Veritas to be
 inadequate without a meaningful explanation, and the Court seemed prepared to
 accept that finding but for AFP. Yet other jurists have found that “a concrete

 showing of infringement is unnecessary.” Young Conservatives of Texas Foundation
 v. University of North Texas, 2022 WL 2901007, at *2 (E.D. Tex. Jan. 11, 2022).
 “Rather, the party asserting the associational privilege need only demonstrate an


                                          –4–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6709 Filed 05/01/23 Page 13 of 21




 objectively reasonable probability that disclosure of the information may expose its
 members to economic reprisal, loss of employment, threat of physical coercion, or
 other manifestations of public hostility.” Ibid. (cleaned up). Evidence that:

    (a)    AFT has spent years using extraordinary efforts to identify someone
           with Project Veritas, ECF 193-1, PageID.6135;
    (b)    Weingarten, AFT’s president, maintains an “enemies list” of those
           she targets for economic reprisals, ECF 136-10, PageID.3547;
    (c)    opponents of Project Veritas’ mission have harassed and threatened
           Project Veritas, its (now former) CEO, and its reporters, exemplified
           by The Washington Post and BuzzFeed News “contacting more than
           two dozen alleged Veritas supporters to undermine their support of
           Project Veritas,” ECF 136-8, PageID.3527–3531, ¶¶5–6, and
           vandalism of its offices, id., at PageID.3534; and
    (d)    Project Veritas is a nonprofit business that relies on assurances of
           anonymity to solicit funds for its operations, id., PageID.3531, at ¶7,

 is more than sufficient to trigger First Amendment protections under AFP. AFP, 141
 S. Ct., at 2388–2389. See also, Young Conservatives, 2022 WL 2901007, at *2
 (“[t]he requisite proof may include, for example, specific evidence of past or present
 harassment of members due to their associational ties, or of harassment directed

 against the organization itself.”) (internal quotation and citation omitted).1


    1
         Given the judiciary’s recent experience with doxing, Jules Roscoe, TikTok
 users are doxing the Supreme Court, Vice (June 29, 2022), https://www.vice.com/
 en/article/v7vmpm/tiktok-users-are-doxing-the-supreme-court, and the threats that
 come with them, Jeremy Schulman, The assassination plot against Brett Kavanaugh
 is a national emergency, Mother Jones (June 8, 2022), https://perma.cc/Q4M4-TS5B,
 it is not hard to see the very real danger posed by compelling the release of donor
 identities.

                                           –5–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6710 Filed 05/01/23 Page 14 of 21




        Third, reasonable jurists could disagree on whether the sought-after donor
 information is “highly relevant” enough to AFT Michigan’s claims to justify
 abridging the associational rights of Project Veritas and its donors—particularly
 when a serious question exists as to whether AFT Michigan has suffered any actual
 damages. The Court engaged in no analysis of the supposed relevance of the
 information, other than to say that AFT Michigan might obtain insight about what
 donors were told about Project Veritas’ motive for, and means of conducting, the
 undercover investigation of the union, and that it is conceptually possible that one
 or more donors might be coconspirators (even though AFT Michigan concedes it has
 only alleged a two-person conspiracy between the two named defendants). ECF
 209, PageID.6388. Omitted was any discussion as to how the identity of these
 donors, or any information these presumed donors may have, could actually assist
 AFT Michigan establish a single element of a single remaining cause of action.
        In Tree of Life Christians Schools v. City of Upper Arlington, 2012 WL 831918
 (S.D. Ohio Mar. 12, 2012), the court explained that the test for relevance is whether
 “the information sought is highly relevant to the claims or defenses in the
 litigation—a more demanding standard of relevance than under Federal Rule of Civil

 Procedure 26(b)(1).” Id., at *3 (emphasis added). “The inquiring party must show
 that the information sought is so relevant that it goes to the heart of the matter; that is,
 the information is crucial to the party’s case.” Ibid. (quoting Anderson v. Hale, 2001

 WL 503045, at *4 (N.D. Ill. May 10, 2001)). Here, the names of supporting and
 solicited donors is not information crucial to AFT Michigan’s case.
        Regarding the eavesdropping claim, AFT Michigan alleges that Jorge recorded


                                            –6–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6711 Filed 05/01/23 Page 15 of 21




 oral conversations involving its employees. ECF 72, PageID.2051, at ¶96. There
 are several problems with this claim, none of which are aided by the disclosure of
 donor identities.
        One, as previously raised by Project Veritas, there is an open question as to
 whether AFT Michigan has standing to bring this claim. The Wiretap Act gives a
 private right of action to any person whose oral communication is intercepted,
 disclosed, or intentionally used in violation of 18 U. S. C. Chap. 119. 18 U. S. C.
 § 2520(a). While the term “person” includes corporations, 18 U. S. C. § 2510(6), the
 speaker must have had an expectation of privacy that was both subjectively and
 objectively reasonable, Huff v. Spaw, 794 F. 3d 543, 548 (6th Cir. 2015), and
 corporations have no right to privacy, United States v. Morton Salt Co., 338 U. S.
 632, 652 (1950). So, although corporations can be persons, corporations are
 incapable of making oral communications under the Wiretap Act.2
        Two, even if we assume arguendo that AFT Michigan has standing to sue for
 oral communication, this Court has acknowledged that the Wiretap Act established a
 one-party consent rule. Any party to the communication may record it, and a third
 party may record the communication if given permission by one of the parties. 18

 U. S. C. § 2511(d). Defendants therefore cannot be liable for Jorge “intercepting” any
 conversation to which she was a party. And the only recording pleaded in the
 complaint is one to which she was a party. ECF 72, PageID.2041, at ¶¶28–35.



    2
        Contrast this with the definition of “wire communication,” which does not
 include a privacy element like the definition of “oral communication.” Compare 18
 U. S. C. §§ 2150(1) and (2).

                                         –7–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6712 Filed 05/01/23 Page 16 of 21




       Three, even if AFT Michigan could prove that Jorge recorded conversations
 to which she was not a party—although the discovery period closed years ago, it has
 yet to identify any other speaker or recording—it would still have to prove that the
 speaker had an objectively and subjectively reasonable expectation of privacy under
 the circumstances. Until AFT Michigan identifies this phantom speaker and supplies
 facts that support a subjective expectation of privacy in the phantom conversation,
 it is premature to be infringing on the protected First Amendment associational rights
 of Project Veritas and its donors. And, again, AFT Michigan has not even alleged
 that the disclosure of donor identity will further this cause of action.
       Regarding the alleged breach of loyalty, AFT Michigan has identified no
 element of the claim that requires it to prove whether a donor was aware of the
 techniques or motive for the undercover investigation. The elements of a fiduciary
 duty claim are (1) the existence of a fiduciary duty; (2) a breach of that duty; and (3)
 damages proximately caused by the breach. Delphi Automotive, PLC v. Absmeier, 167
 F. Supp. 3d 868, 884 (ED Mich 2016) (Drain, J.). In denying Defendants’ motion to
 dismiss, the Court was willing to accept as plausibly pleaded a breach-of-loyalty
 claim on the facts alleged in Complaint, citing Wysong Corp. v. M.I. Indus., 412 F.

 Supp. 2d 612, 624 (ED Mich. 2005), for the proposition that “an employee breaches
 a duty of loyalty by competing against his employer without fully disclosing his
 interest in the competing enterprise.” ECF 93, PageID.2352. Recall, however, that

 this claim is pleaded only against Jorge, not Project Veritas. Neither AFT Michigan
 nor the Court has explained how the identity of donors to Project Veritas helps prove
 in any way the claim that Jorge failed to disclose her investigative role with Project


                                          –8–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6713 Filed 05/01/23 Page 17 of 21




 Veritas much less that the identities would be “highly relevant” to its proofs.
       The conspiracy claim as pleaded is doomed to fail under the intra-corporate
 conspiracy doctrine. Under that doctrine, a corporation cannot conspire with its
 agents or employees who were acting within the scope of their employment. Blair
 v. Checker Cab Co., 219 Mich. App. 667, 674 (1996). AFT Michigan alleges that
 Jorge is “an agent for or employee of” Project Veritas. ECF 72, PageID.2048, at
 ¶80. AFT Michigan does not allege that Project Veritas conspired with anyone else.
 So, under the Tree of Life test, AFT Michigan is not seeking information that goes to
 the heart of its case as pleaded; it seeks instead leave of court to infringe on First
 Amendment associational rights so that it can explore whether it might have claims
 against a third party. That kind of fishing expedition to file a new claim against a
 new party falls far short of the “highly relevant” standard—i.e., something that goes
 to the heart of a pending claim.
       Moreover, it would be a futile effort because the statute of limitations would
 bar AFT Michigan from bringing anyone else into the case at this late date. “[A]n
 amendment [that] adds a new party creates a new cause of action and there is no
 relation back to the original filing for purposes of limitations.” Zakora v. Chrisman,

 44 F. 4th 452, 480 (6th Cir. 2022) (internal quotation and citation omitted). Civil
 conspiracy claims are subject to a three-year limitations period. Mich. Comp. Laws
 § 600.5805(2). Fiduciary duty claims, like the breach-of-loyalty claim in Count VIII,

 are also subject to a three-year limitations period. Ibid. The limitations period under
 the Wiretap Act is two years. 18 U. S. C. § 2520(e). The alleged recordings took place
 during mid-2017, nearly six years ago.


                                          –9–
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6714 Filed 05/01/23 Page 18 of 21




        Not one element of one remaining claim would be aided by the disclosure of
 the identities of any donors, solicited donors, or prospective donors. And surely that
 information does not go to the heart of any of AFT Michigan’s claims. As such, we
 will be left with nothing but a First Amendment infringement for no appreciable
 purpose or gain to any party.
        Whether this question is difficult and that the circuits are split is also evident
 by the multiple pages of precedent cited by Project Veritas in its objection citing to
 cases from numerous circuits across the land, all holding contrariwise to the Court’s
 instant order. ECF 157, PageID.4288–4301. It is also evident from the United States
 Supreme Court’s recent ruling in AFP that District Courts and Circuit Courts are
 finding the issue of coerced donor disclosure to be a difficult question, ripe for reversal
 by the Supreme Court. This is a difficult issue upon which reasonable minds can and
 frequently do disagree. And it is one that would be well served by a timely appeal,
 before any rights are infringed upon.

               An appeal would materially advance the termination of this
               litigation.

        Finally, an appeal will materially advance the ultimate termination of this
 litigation. “The requirement that an appeal may materially advance the ultimate
 termination of the litigation is closely tied to the requirement that the order involve a

 controlling question of law.” City of Dearborn, 2008 WL 5084203, at *3. “When
 litigation will be conducted in substantially the same manner regardless of the court’s
 decision, the appeal cannot be said to materially advance the ultimate termination of

 the litigation.” In re City of Memphis, 293 F. 3d 345, 351 (6th Cir. 2002). When


                                           – 10 –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6715 Filed 05/01/23 Page 19 of 21




 litigation would be conducted in a substantially different manner depending on the
 appeal, therefore, an interlocutory appeal is appropriate. An interlocutory appeal also
 materially advances the litigation when it “saves judicial resources and litigant
 expense.” Newsome v. Young Supply Co., 873 F. Supp. 2d 872, 878 (E.D. Mich.
 2012).
       AFT Michigan has stated its intention to seek new discovery, conduct new
 depositions, and to add claims against donors it deems to be co-conspirators. ECF
 160, PageID.4435. All after discovery previously closed over two years ago. With
 discovery closed, the Court’s ruling implies that it would favorably entertain a motion
 to reopen discovery so that AFT Michigan can subpoena donors for records and
 depositions. And the Court’s reliance on the “potential co-conspirator” theory also
 signals that it would grant a future motion to add parties, reopen discovery as to
 those new parties and claims, and extend this case—already in its sixth year—even
 longer. And, of course, there is no reason to suspect that AFT Michigan will stop as
 it continues its fishing expedition further and further.
       If successful, an appeal would spare these judicial resources and litigant
 expenses by avoiding an expansion of the case beyond its current parameters.

 Accordingly, it would materially advance the ultimate termination of this litigation.
       Additionally, an appeal would spare the improper and unnecessary
 infringement on the constitutional rights of non-parties. Disclosure of donor

 identities—if mandated at this time without appeal—would be irreparable. See
 Elrod v. Burns, 427 U.S. 347, 373 (1976) (“The loss of First Amendment freedoms,
 for even minimal periods of time, unquestionably constitutes irreparable injury.”).


                                          – 11 –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6716 Filed 05/01/23 Page 20 of 21




 That is not something that can be resolved or put back into the bottle upon appeal
 after final judgment. The bell cannot be unrung once struck. An immediate appeal
 is necessary in order to protect the very serious constitutional rights of the non-
 parties in question.

                                  CONCLUSION
       For these reasons, the Court should certify its order compelling the production

 of donor identities for interlocutory review. Project Veritas respectfully requests
 that—pursuant to Fed. R. App. P. 5—the Court amend the challenged order [209] to
 include a certification permitting Project Veritas to seek immediate interlocutory

 appeal from the Sixth Circuit Court of Appeals.

                                           Respectfully submitted
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 Dated: May 1, 2023




                                       – 12 –
Case 4:17-cv-13292-LVP-EAS ECF No. 212, PageID.6717 Filed 05/01/23 Page 21 of 21




                            CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2023, I electronically filed the foregoing paper

 with the Clerk of the Court using the ECF system which will send notification of

 such filing to all registered ECF participants listed for this case.

                                          Respectfully submitted,

                                          /s/ Paul M. Mersino
                                          Paul M. Mersino




                                          – 13 –
